Case 2:20-cv-00891-GJP Document 1 Filed 02/18/20 Page 1 of 12
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Case 2:20-cv-00891-GJP Document 1 Filed 02/18/20 Page 5 of 12
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Case 2:20-cv-00891-GJP Document 1 Filed 02/18/20 Page 7 of 12
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purpose of m1t1atmg

I. (a) PLAl\fTIFFS                                                                                                     DEFE\fDANTS                                      Gil)
 DIANE JOHNSON. on behalf of herself and others s1m1larly situated                                                   MATTRESS WAREHOUSE.                                ~

      (b) County of Residence ofFirst Listed Plamtiff                                                                  County of Residence of F1rst L1sted Defendant                      Frederick {MD)_
                                     /fXCFPT IV US PlAJNTlff CASF>S1                                                                                      (l'V (' S P LAJNT!f F CASF.S O -~ l Y1
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      ( C) Attorneys / f trm     'Vame Address and Telephone Number)                                                    Attorneys (lf KnmvnJ

Winebrake & Santillo. LLC. 715 Tw1nrng Road. Suite 211. Dresher PA                                                   Unknown
19025. Ph (215) 884-2491 Other Counsel Listed In Complaint

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cl    I 50 Recovery of Overpayment cl 320 Assault Libel &                        Pharrnaceuncal                                                                                            cl 410 Antitrust
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     Address of Plaintiff.                                      5639 North 20th Street, Philadelphia, PA 19144
     Address of Defendant:                                        4949 New Design Road, Frederick, MD 21703
                                                                                         -- ---------------
     Place of Accident, Incident or Transaction:                                                           Philadelphia, PA


    RELATED CASE, IF ANY:

    Case !'.umber:                                                 Judge _ _ _ _ _ _               _ __                        Date T ermmated

    Civil cases are deemed related when Yes 1s answered to any of the followmg questions

           ls this case related to property mcluded man earlier numbered smt pendmg or w1thm one year                                YesD
           previously termmated action m this court"

    2      Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor suit                           YesD
           pendmg or w1thm one year prev10usly termmated action m this court"

    3      Does this case mvolve the validity or mfrmgement ofa patent already m smt or any earlier                                  YesO
           numbered case pendmg or \l,1thm one year previous!) termmated action ofth1s court?

    4      15 this case a second or successive habeas corpus. s       I   security appeal, or pro se c1v1l nghts                     YesO
           case filed by the same md1v1duaJ'J

    I certify that, to my kno\l,)edge. the \l,ithm case                     not related to any case now pending or withm one year prev10usly termmated act10n m
    this court except as   nord  above

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                                                                           Attorney-at-LG\t I Pro Se Plamufl                                Attorney f D   #    (tfapphcableJ


    CIVIL: (Place a v in one category only)

    A,           Federal Question Cases:                                                      B.     Diversity Jurisdiction Cases:

    01           lndemmty Contract, Marme Contract. and All Other Contracts                  0        I.   Insurance Contract and Other Contracts
    0      2     FELA                                                                        0       2     Airplane Personal lnJury
    03           Jones Act-Personal lnjuf)                                                   03            Assault. Defamat10n
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 •         8     Habeas Corpus                                                               0       8     Products Liab1hty - Asbestos

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    ~II
                 Secunt1es Act(s) Cases
                 Social Secunty Review Cases
                 All other Federal Question Cases
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    I,   t_£>~t~r ~in~b~a~e - - - - ,counsel of record or prose plamnff. do hereby certify
                      rsuant to Local C1v1l Rule 53 2. § 3(c) (2), that to the best ofmy knowledge and behef. the damages recoverable m this                   CIVIi   action case
                      ceed the sum of $150,000 00 exclusive of mterest and costs




    DATE
         •       Relief other than monetaf) damages is sought
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                                                                           Attorney-at-law-' Pro Se Plamuff                                 Attorney f D   #   (1f apphcable/

    NOTE A tnal de novo will be a tnal by JUI) only ,f there has been co111phance wuh F R C' P 38

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                         IN THE UNITED STATES DISTRICT COL'RT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIG~ATIO~ FORM

                                                                              CIVIL ACTIO{';

                         V.                                             20            Si~ij
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In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plamuff shall complete a Case :\.1anagement Track Designation Form in all civII cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
des1gnat1on, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE f'OLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 C.S.C. § 2241 through§ 2255.                             ( )

(b) Social Secunty Cases requesting review of a decision of the Secretary of Health
    and Human Services denymg plamtiff Social Security Benefits.                                    (   )

(c) Arbitration     Cases requ1red to be designated for arbitration under Local Civil Rule 53.2.    ( )

(d) Asbestos · Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanat10n of special
    management cases.)

(f) Standard :Management       Cases that do not fall into any one of the other tracks.
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